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 9                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
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     IN RE TESLA, INC. SECURITIES                     Case No. 3:18-cv-04865-EMC
11   LITIGATION
                                                      PLAINTIFF’S RESPONSE TO
12
                                                      DEFENDANTS’ OBJECTIONS
13                                                    REGARDING THE TESTIMONY OF
                                                      DAVE ARNOLD
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 1          On January 18, 2023, Plaintiff disclosed David Arnold (and his exhibits). Defendants

 2   served counter-designations and objections. The Court issued rulings on these disclosures and

 3   objections on January 24, 2023. Having successfully worked through a backlog of witnesses due

 4   to extensive cross-examinations, Plaintiff intends to call Mr. Arnold tomorrow in light of the

 5   jury’s availability and willingness to stay late. Defendants’ objections to Plaintiff calling Mr.

 6   Arnold at this point are unfounded and directly contradict Plaintiff’s right to present his case. See

 7   Herrington v. Scribner, 2009 WL 3157538, *3 (E.D. Cal. 2009) (“The Court advised Plaintiff

 8   that he could present his case any way he wanted to and that he could call his witnesses in any

 9   order he desired.”). Defendants’ objection (motion to exclude) should be overruled.

10          At the time of the August 2018 tweets, Mr. Arnold was Tesla’s Senior Director of Global

11   Communications. He was responsible for responding to the media on behalf of the company and

12   preparing Tesla’s official corporate responses to media inquiries. Critically, Mr. Arnold has

13   specific knowledge relating to several key exhibits that Plaintiff needs to show the jury. His

14   testimony will include the following:

15                 That there were “dozens, if not hundreds” of “people wanting more information”

16                  about “funding secured . . . throughout the whole period” including after the

17                  August 13, 2018 blog post. Arnold Dep. Tr. at 154-156.

18                 That management was drafting the blog posts about the “funding secured” tweet

19                  because usually public statements by a CEO are drafted with the assistance of

20                  management and Mr. Arnold “put this in that same category”. Arnold Dep. Tr. at

21                  162:10-21.

22                 That “[t]he predominant theme throughout coverage is that the email ‘did not make

23                  any mention of financing referenced in Musk’s original tweet’ and ‘gave no further

24                  details on how he would fund a deal’.” Ex. 303.

25          This testimony bears directly on the issue of “materiality” as well as the topics of control

26   and imputation of scienter. The media’s focus on the “funding secured” component of the tweet
27   demonstrates the importance of those words relative to the remainder of the tweet. The fact that

28   this testimony is supported by Tesla’s Senior Director of Global Communications underscores

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 1   the credibility of the evidence. Additionally, as Defendants develop their defense concerning

 2   Musk’s role as “bidder” (see, e.g., 1/25 Tr. at 1257:19-1258:2) and, in turn, show that he was

 3   acting outside the scope of his role as CEO, evidence of Tesla’s corporate responsibility for

 4   communications to the public has become increasingly important.

 5          Defendants’ arguments do not change the outcome on this issue. First, Defendants argue

 6   that Mr. Arnold should not be permitted to testify because he does not have personal knowledge

 7   about these exhibits or his testimony. Defs. Br. at 4. His deposition testimony disproves this

 8   argument, given that he testified directly about these exhibits. See Arnold Dep. Tr. at 94:9-96:18;

 9   Fed. R. Evid. 602 (“Evidence to prove personal knowledge may consist of the witness’s own

10   testimony.”). Additionally, Mr. Arnold was directly involved with the drafting of the August 7

11   and August 13 blog posts. He will testify regarding his involvement in the process and the timing

12   of the blog posts.

13          Second, Defendants also argue some of the exhibits (303, 339, and 342) are hearsay or

14   hearsay within hearsay. Defendants waived these objections when responding to Plaintiff’s

15   disclosure. Further, the Court already overruled the objections Defendant made. ECF No. 615-1

16   at 24-25. The Court has also repeatedly held that news articles during the Class period are proper

17   to show the effect on the listener, i.e., the market. To the extent Defendants object to Mr. Arnold’s

18   comments about news articles, they are opposing party statements, not offered for the truth of the

19   matter asserted. Mr. Arnold will testify to the media inquiries he received and the summaries of

20   the hundreds of inquiries he received. This will show the jury the market’s perception and reaction

21   to Mr. Musk’s tweets. Therefore, his testimony and accompanying exhibits are not inadmissible

22   hearsay.

23          Nor do Defendants meet their burden of proving that the evidence is unduly prejudicial.

24   Relevant evidence may be excluded, but only if its probative value is substantially outweighed by

25   a danger of unfair prejudice. F.R.E. 403. There is no danger of unfair prejudice here. The

26   probative value of Mr. Arnold’s testimony is central to Plaintiff’s case-in-chief, as it goes to the
27   materiality of Elon Musk’s tweets and the Directors’ good faith defense, both highly disputed at

28   trial. Defendants have failed to provide a compelling reason for why Mr. Arnold should be

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 1   precluded from testifying. Plaintiff is free to use his remaining time as he sees fit. Therefore,

 2   Defendants’ motion to preclude Mr. Arnold should be summarily dismissed.

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 4   Dated: January 26, 2023                      Respectfully submitted,

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